         Case 1:18-cv-10225-MLW Document 259 Filed 05/31/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )           No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
KIRSTJEN M. NIELSEN, et al.,             )
                                         )
                Defendants-Respondents.  )
                                         )

        JOINT MOTION FOR EXTENSION OF TIME TO FILE JOINT REPORT

        Petitioners and Respondents jointly move for an extension of time to file the joint report

due on May 31, 2019. See ECF No. 257. This Court has ordered the parties to confer and report

on: (1) whether they have agreed to settle this case or to request jointly that it be stayed; (2)

whether the parties request more time to confer; (3) whether notice should be directed to class

members under Federal Rule of civil Procedure 23(c)(2)(A) and, if so, how; and (4) the nature of

the limited discovery to be conducted by July 31, 2019. ECF No. 253. Respondents are still

conferring internally about Petitioner’s proposed settlement framework. In the meantime, the

parties are engaged in discussions about the scope of discovery and respectfully request until

June 5, 2019 to narrow the issues and report on their respective positions. The parties have

agreed that they will begin working to produce any agreed-upon discovery without further order

and will begin working to schedule any agreed-upon depositions without further order.




ActiveUS 173967224v.1
         Case 1:18-cv-10225-MLW Document 259 Filed 05/31/19 Page 2 of 3



            Respectfully submitted this 31st day of May, 2019.



Matthew R. Segal (BBO # 654489)                     /s/ Kevin S. Prussia
Adriana Lafaille (BBO # 680210)                     Kevin S. Prussia (BBO # 666813)
AMERICAN CIVIL LIBERTIES UNION                      Shirley X. Li Cantin (BBO # 675377)
FOUNDATION OF MASSACHUSETTS, INC.                   Stephen Provazza (BBO # 691159)
211 Congress Street                                 Colleen M. McCullough (BBO # 696455)
Boston, MA 02110                                    Matthew W. Costello (BBO # 696384)
(617) 482-3170                                      WILMER CUTLER PICKERING
                                                      HALE AND DORR LLP
Kathleen M. Gillespie (BBO # 661315)                60 State Street
Attorney at Law                                     Boston, MA 02109
6 White Pine Lane                                   Telephone: (617) 526-6000
Lexington, MA 02421                                 Facsimile: (617) 526-5000
(339) 970-9283                                      kevin.prussia@wilmerhale.com
                                                    shirley.cantin@wilmerhale.com
                                                    stephen.provazza@wilmerhale.com

                                                    Counsel for Petitioners

 JOSEPH H. HUNT                                     EVE A. PIEMONTE, BBO No. 628883
 Assistant Attorney General                         Assistant United States Attorney
                                                    United States Attorney’s Office
 WILLIAM C. PEACHEY                                 1 Courthouse Way, Suite 9200
 Director, Office of Immigration Litigation         Boston, MA 02210
                                                    (617) 748-3100
 J. MAX WEINTRAUB                                   Eve.Piemonte@usdoj.gov
 Senior Litigation Counsel

 /s/ Mary L. Larakers
 MARY L. LARAKERS (Texas Bar #
 24093943)
 Trial Attorney
 U.S. Department of Justice, Civil Division
 Office of Immigration Litigation,
 District Court Section
 P.O. Box 868, Ben Franklin Station
 Washington, DC 20044
 (202) 353-4419
 (202) 305-7000 (facsimile)
 mary.l.larakers@usdoj.gov

Counsel for Respondents

                                                2


ActiveUS 173967224v.1
         Case 1:18-cv-10225-MLW Document 259 Filed 05/31/19 Page 3 of 3



             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        I, Mary Larakers, hereby certify that in accordance with Local Rule 7.1(a)(2), counsel for

Petitioners and counsel for Respondents met and conferred in good faith to resolve the issues

presented by this motion on May 31, 2019, and have agreed to file this motion jointly.

                                                     /s/   Mary L. Larakers
                                                     Mary L. Larakers




                                                3


ActiveUS 173967224v.1
